          Case 1:15-vv-01068-UNJ Document 24 Filed 07/15/16 Page 1 of 7




    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                          No. 15-1068V
                                      Filed: June 24, 2016

* * * * * * * * * * * * * * * *                          UNPUBLISHED
JUDITH HASENSTEIN,                          *
                                            *            Special Master Hamilton-Fieldman
              Petitioner,                   *
                                            *            Joint Stipulation on Damages;
v.                                          *            Influenza (“Flu”) Vaccine;
                                            *            Guillain-Barré syndrome (“GBS”);
SECRETARY OF HEALTH                         *            Chronic Inflammatory
AND HUMAN SERVICES,                         *            Demyelinating Polyneuropathy
                                            *            (“CIDP”); Attorneys’ Fees and
              Respondent.                   *            Costs.
* * * * * * * * * * * * * * * *
Jerome Hierseman, End, Hierseman & Crain, LLC, for Petitioner.
Heather Pearlman, United States Department of Justice, Washington, D.C., for Respondent.

                                           DECISION 1

       On September 25, 2015, Judith Hasenstein (“Petitioner”) filed a petition for
compensation pursuant to the National Vaccine Injury Compensation Program. 2 42 U.S.C. §§
300aa-1 to -34 (2006). Petitioner alleged that an influenza (“flu”) vaccine administered on
September 24, 2012 caused her to suffer from Guillain-Barré syndrome (“GBS”) and/or chronic
inflammatory demyelinating polyneuropathy (“CIDP”).

       On June 23, 2016, the parties filed a stipulation in which they state that a decision should
be entered awarding compensation for Petitioner’s injuries and for attorneys’ fees and costs.
Respondent denies that Petitioner suffered GBS, CIDP, or any other injury that was caused-in-
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this decision on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, codified as amended at 44 U.S.C. §
3501 note (2012). As provided by Vaccine Rule 18(b), each party has 14 days within which to
request redaction “of any information furnished by that party: (1) that is a trade secret or
commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted
invasion of privacy.” Vaccine Rule 18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


                                                 1
          Case 1:15-vv-01068-UNJ Document 24 Filed 07/15/16 Page 2 of 7



fact by her September 24, 2012 influenza vaccination; denies that her current disabilities are
sequelae of these injuries; and denies that she experienced the residual effects of her injuries for
more than six months. However, the parties agree to the joint stipulation, attached hereto as
Appendix A. The undersigned finds the stipulation reasonable and adopts it as the decision of
the Court in awarding damages and attorneys’ fees and costs, on the terms set forth therein.

      The parties stipulate that Petitioner and her attorney shall receive the following
compensation:

       a. A lump sum of $150,284.00 in the form of a check payable to Petitioner. This
          amount represents compensation for all damages that would be available under
          42 U.S.C. § 300aa-15(a); and

       b. A lump sum of $11,985.31 in the form of a check payable jointly to Petitioner
          and Petitioner’s law firm, End, Hierseman & Crain, LLC, for all attorneys’ fees
          and costs available under 42 U.S.C. § 300aa-15(e). In accordance with General
          Order #9, Petitioner represents that all litigation costs were paid by Petitioner’s
          attorney and that Petitioner did not personally incur any costs in proceeding on
          the petition.

       Stipulation ¶ 8.

       The undersigned approves the requested amounts for Petitioner’s, and her attorney’s,
compensation. Accordingly, an award should be made consistent with the stipulation.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation. 3

       IT IS SO ORDERED.

                                              s/ Lisa Hamilton-Fieldman
                                              Lisa Hamilton-Fieldman
                                              Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


                                                  2
Case 1:15-vv-01068-UNJ Document 24
                                19 Filed 07/15/16
                                         06/23/16 Page 3
                                                       1 of 7
                                                            5
Case 1:15-vv-01068-UNJ Document 24
                                19 Filed 07/15/16
                                         06/23/16 Page 4
                                                       2 of 7
                                                            5
Case 1:15-vv-01068-UNJ Document 24
                                19 Filed 07/15/16
                                         06/23/16 Page 5
                                                       3 of 7
                                                            5
Case 1:15-vv-01068-UNJ Document 24
                                19 Filed 07/15/16
                                         06/23/16 Page 6
                                                       4 of 7
                                                            5
Case 1:15-vv-01068-UNJ Document 24
                                19 Filed 07/15/16
                                         06/23/16 Page 7
                                                       5 of 7
                                                            5
